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                                      15    David Rodriguez

                                      16                        UNITED STATES DISTRICT COURT
                                      17                       CENTRAL DISTRICT OF CALIFORNIA

                                      18
                                            DAVID RODRIGUEZ,                       Case No.:
                                      19
                                                          Plaintiff,               COMPLAINT FOR DAMAGES FOR
                                      20                                           VIOLATIONS OF:
                                                                  v.
                                      21                                             (1)   THE FAIR DEBT
                                            CREDIT BUREAU OF SANTA                         COLLECTION
                                      22                                                   PRACTICES ACT, 15 U.S.C.
                                            MARIA dba THE CREDIT                           § 1692, ET SEQ.; AND,
                                      23    BUREAU OF SAN LUIS
                                            OBISPO AND SANTA                         (2)   THE ROSENTHAL FAIR
                                      24                                                   DEBT COLLECTION
                                            BARBARA COUNTIES,                              PRACTICES ACT, CAL.
                                      25                                                   CIV. CODE § 1788, ET SEQ.
                                                          Defendant.
                                      26                                           JURY TRIAL DEMANDED
                                      27
                                      28


                                            COMPLAINT FOR DAMAGES
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                                       1                                           INTRODUCTION
                                       2    1.      The United States Congress has found abundant evidence of the use of
                                       3            abusive, deceptive, and unfair debt collection practices by many debt
                                       4            collectors, and has determined that abusive debt collection practices contribute
                                       5            to the number of personal bankruptcies, to marital instability, to the loss of
                                       6            jobs, and to invasions of individual privacy. Congress wrote the Fair Debt
                                       7            Collection Practices Act, 15 U.S.C. § 1692 et seq, to eliminate abusive debt
                                       8            collection practices by debt collectors, to insure that those debt collectors who
                                       9            refrain from using abusive debt collection practices are not competitively
                                      10            disadvantaged, and to promote consistent State action to protect consumers
                                      11            against debt collection abuses.
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                                      12    2.      The California legislature has determined that the banking and credit system
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                                      13            and grantors of credit to consumers are dependent upon the collection of just
                                      14            and owing debts and that unfair or deceptive collection practices undermine
                                      15            the public confidence that is essential to the continued functioning of the
                                      16            banking and credit system and sound extensions of credit to consumers. The
                                      17            Legislature has further determined that there is a need to ensure that debt
                                      18            collectors exercise this responsibility with fairness, honesty, and due regard
                                      19            for the debtor’s rights and that debt collectors must be prohibited from
                                      20            engaging in unfair or deceptive acts or practices.1
                                      21    3.      DAVID RODRIGUEZ (“Plaintiff”) by Plaintiff’s attorneys, bring this
                                      22            Complaint for damages, injunctive relief, and any other available legal or
                                      23            equitable remedies, to challenge the illegal actions of THE CREDIT
                                      24            BUREAU OF SANTA MARIA dba THE CREDIT BUREAU OF SAN LUIS
                                      25            OBISPO AND SANTA BARBARA COUNTIES (“Defendant”) with regard
                                      26            to attempts by Defendant, a debt collector, to unlawfully and abusively collect
                                      27            a debt allegedly owed by Plaintiff, and this conduct caused Plaintiff damages.
                                      28    1
                                                Cal. Civ. Code §§ 1788.1 (a)-(b)

                                            COMPLAINT FOR DAMAGES                                                    PAGE 1 OF 8
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                                       1    4.   Plaintiff makes these allegations on information and belief, with the exception
                                       2         of those allegations that pertain to Plaintiff, or to Plaintiff’s counsel, which
                                       3         Plaintiff alleges on personal knowledge.
                                       4    5.   While many violations are described below with specificity, this Complaint
                                       5         alleges violations of the statutes cited in their entirety.
                                       6    6.   Unless otherwise stated, Plaintiff alleges that any violations by Defendant
                                       7         were knowing and intentional, and that Defendant did not maintain procedures
                                       8         reasonably adapted to avoid any such violation.
                                       9    7.   Unless otherwise indicated, the use of any Defendant’s name in this
                                      10         Complaint includes all agents, employees, officers, members, directors, heirs,
                                      11         successors, assigns, principals, trustees, sureties, subrogees, representatives,
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                                      12         and insurers of that Defendant named.
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                                      13                                   JURISDICTION AND VENUE
                                      14    8.   Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                      15         1682k and 28 U.S.C. § 1367 for supplemental state claims.
                                      16    9.   This action arises out of Defendant’s violations of (i) the Fair Debt Collection
                                      17         Practices Act, 15 U.S.C. §§ 1692, et seq. (“FDCPA”); and, (ii) the Rosenthal
                                      18         Fair Debt Collection Practices Act, Cal. Civ. Code §§ 1788, et seq.
                                      19         (“RFDCPA”).
                                      20    10. Because Defendant conducts business within the State of California, personal
                                      21         jurisdiction is established.
                                      22    11. Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                                      23         Plaintiff resides in the City of Santa Maria, County of Santa Barbara, State of
                                      24         California which is within this judicial district; (ii) the conduct complained of
                                      25         herein occurred within this judicial district; and, (iii) Defendant conducts
                                      26         business within this judicial district and is incorporated in the City of Grover
                                      27         Beach, County of San Luis Obispo, State of California which is also within
                                      28         this judicial district.


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                                       1                                          PARTIES
                                       2    12. Plaintiff is a natural person who resides in the County of Santa Barbara, State
                                       3          of California, from whom a debt collector sought to collect a consumer debt
                                       4          which was due and owing or alleged to be due and owing from Plaintiff, and
                                       5          are “debtors” as that term is defined by California Civil Code § 1788.2(h). In
                                       6          addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
                                       7          1692a(3).
                                       8    13. Plaintiff is informed and believes, and thereon alleges, that Defendant is a
                                       9          company who’s State of Incorporation and principal place of business is
                                      10          California.
                                      11    14. Plaintiff is informed and believes, and thereon alleges, that Defendant, in the
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                                      12          ordinary course of business, regularly, on behalf of themselves or others,
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                                      13          engage in debt collection as that term is defined by California Civil Code §
                                      14          1788.2(b), and is therefore a “debt collector” as that term is defined by
                                      15          California Civil Code § 1788.2(c) and 15 U.S.C. § 1692a(6).
                                      16    15. This case involves money, property or their equivalent, due or owing or
                                      17          alleged to be due or owing from a natural person by reason of a consumer
                                      18          credit transaction. As such, this action arises out of a “consumer debt” and
                                      19          “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f)
                                      20          and a “debt” as that term is defined by 15 U.S.C. 1692a(5).
                                      21                                  FACTUAL ALLEGATIONS
                                      22    16. At all times relevant, Plaintiff is an individual residing within the State of
                                      23          California.
                                      24    17. Plaintiff is informed and believes, and thereon alleges, that at all time
                                      25          relevant, Defendant conducted business in the State of California.
                                      26    ///
                                      27    ///
                                      28    ///


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                                       1    18. Sometime prior to 2015, Plaintiff allegedly incurred financial obligations to
                                       2        the original creditor, Steven Hutcherson DDS MS, that were money, property,
                                       3        or their equivalent, which is due or owing, or alleged to be due or owing, from
                                       4        a natural person to another person and were therefore “debt(s)” as that term is
                                       5        defined by California Civil Code §1788.2(d), and a “consumer debt” as that
                                       6        term is defined by California Civil Code §1788.2(f) and 15 U.S.C. § 1692a(6).
                                       7    19. Plaintiff’s alleged medical expenses were allegedly incurred for personal,
                                       8        family and household purposes.
                                       9    20. Sometime thereafter, Plaintiff allegedly fell behind in the payments allegedly
                                      10        owed on the alleged debt. Plaintiff currently takes no position as to whether
                                      11        or not this alleged debt was actually owed.
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                                      12    21. Sometime prior to 2015, the original creditor allegedly assigned, placed, or
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                                      13        otherwise transferred, to Defendant the right to collect Plaintiff’s alleged debt.
                                      14    22. As a result of the alleged transfer, Plaintiff received a written communication
                                      15        from Defendant and/or Defendant’s agents regarding the alleged debt. This
                                      16        written communication was a “communication” as 15 U.S.C. § 1692a(2)
                                      17        defines that term, and a “debt collection” as that phrase is defined by Cal. Civ.
                                      18        Code § 1788.2(b).
                                      19    23. On February 12, 2015, Defendant sent Plaintiff a written communication
                                      20        which stated the following:
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                                       1    24. The tone of Defendant’s written communication was one of intimidation and
                                       2        was intended to unfairly effect collection of Plaintiff’s alleged debts.
                                       3    25. Said written communications were also designed to instill the belief that dire
                                       4        consequences would forever follow Plaintiff without mentioning the
                                       5        applicable statutes of limitations regarding initiating collection actions and/or
                                       6        reporting accounts to the credit bureaus.
                                       7    26. Through this conduct, Defendant violated 15 U.S.C. § 1692d by engaging in
                                       8        conduct the natural consequence of which is to harass, oppress and abuse
                                       9        Plaintiff in connection with Plaintiff’s alleged debt.          This section is
                                      10        incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus,
                                      11        Defendant also violated Cal. Civ. Code § 1788.17.
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                                      12    27. Through this conduct, Defendant violated 15 U.S.C. § 1692e by using false,
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                                      13        deceptive and misleading representations in connection with the collection of
                                      14        Plaintiff’s alleged debts.   This section is incorporated into the RFDCPA
                                      15        through Cal. Civ. Code § 1788.17; thus, Defendant also violated Cal. Civ.
                                      16        Code § 1788.17.
                                      17    28. Through this conduct, Defendant violated 15 U.S.C. § 1692e(10) by using
                                      18        false representations and deceptive means to collect Plaintiff’s alleged debts.
                                      19        This section is incorporated into the RFDCPA through Cal. Civ. Code §
                                      20        1788.17; thus, Defendant also violated Cal. Civ. Code § 1788.17.
                                      21    29. Through this conduct, Defendant violated 15 U.S.C. § 1692f by using unfair
                                      22        and unconscionable means to collect Plaintiff’s alleged debts. This section is
                                      23        incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus,
                                      24        Defendant also violated Cal. Civ. Code § 1788.17.
                                      25    30. As described herein, Defendant engaged in collection activity that violated
                                      26        various sections of the FDCPA; and, RFDCPA.              Specifically, Defendant
                                      27        violated 15 U.S.C. §§ 1692d; 1692e; 1692e(10); and, 1692f. In addition,
                                      28        Defendant also violated Cal. Civ. Code § 1788.17.


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                                       1                         CAUSES OF ACTION CLAIMED BY PLAINTIFF
                                       2                                          COUNT I
                                       3               VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                       4                            15 U.S.C. §§ 1692-1692(p) (FDCPA)
                                       5    31. Plaintiff incorporates by reference all of the above paragraphs of this
                                       6           Complaint as though fully stated herein.
                                       7    32. The foregoing acts and omissions constitute numerous and multiple violations
                                       8           of the FDCPA.
                                       9    33. As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                      10           any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages
                                      11           for a knowing or willful violation in the amount up to $1,000.00 pursuant to
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                                      12           15 U.S.C. § 1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant
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                                      13           to 15 U.S.C. § 1692k(a)(3) from Defendant.
                                      14                                          COUNT II
                                      15          VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
                                      16                        Cal. Civ. Code §§ 1788-1788.32 (RFDCPA)
                                      17    34. Plaintiff incorporates by reference all of the above paragraphs of this
                                      18           Complaint as though fully stated herein.
                                      19    35. The foregoing acts and omissions constitute numerous and multiple violations
                                      20           of the RFDCPA.
                                      21    36. As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
                                      22           any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
                                      23           damages for a knowing or willful violation in the amount of $1,000.00
                                      24           pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s fees and
                                      25           costs pursuant to Cal. Civ. Code § 1788.30(c) from Defendant.
                                      26    ///
                                      27    ///
                                      28    ///


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                                       1                                   PRAYER FOR RELIEF
                                       2    WHEREFORE, Plaintiff prays for judgment as follows:
                                       3          • An award of actual damages, in an amount to be determined at trial,
                                       4             pursuant to 15 U.S.C. § 1692k(a)(1), against Defendant;
                                       5          • An award of actual damages, in an amount to be determined at trial,
                                       6             pursuant to Cal. Civ. Code § 1788.30(a), for Plaintiff;
                                       7          • An award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
                                       8             1692k(a)(2)(A), against Defendant;
                                       9          • An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code
                                      10             § 1788.30(b), for Plaintiff;
                                      11          • An award of costs of litigation and reasonable attorney’s fees, pursuant
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                                      12             to 15 U.S.C. § 1692k(a)(3), against Defendant;
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                                      13          • An award of costs of litigation and reasonable attorney’s fees, pursuant
                                      14             to Cal. Civ. Code § 1788.30(c);
                                      15          • For equitable and injunctive relief pursuant to the FDCPA;
                                      16          • For equitable and injunctive relief pursuant to the RFDCPA; and,
                                      17          • Any and all other relief that this Court deems just and proper.
                                      18
                                      19    Dated: July 6, 2015                               Respectfully submitted,
                                      20
                                                                                              KAZEROUNI LAW GROUP, APC
                                      21
                                                                                              By: ___/s/ Matthew M. Loker___
                                      22
                                                                                                    MATTHEW M. LOKER, ESQ.
                                      23                                                             ATTORNEY FOR PLAINTIFF
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                                       1                                      TRIAL BY JURY
                                       2    37. Pursuant to the seventh amendment to the Constitution of the United States of
                                       3        America, Plaintiff is entitled to, and demands, a trial by jury.
                                       4
                                            Dated: July 6, 2015                                  Respectfully submitted,
                                       5
                                       6                                                        KAZEROUNI LAW GROUP, APC
                                       7
                                                                                               By: ___/s/ Matthew M. Loker___
                                       8                                                             MATTHEW M. LOKER, ESQ.
                                                                                                      ATTORNEY FOR PLAINTIFF
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